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                     UNITED STATES DISTRICT COURT
            FOR THE Northern District of Illinois − CM/ECF NextGen 1.6.3
                                Eastern Division

Douglas Johnson
                                   Plaintiff,
v.                                                   Case No.: 1:22−cv−03718
                                                     Honorable Robert W. Gettleman
Sheriff Thomas Dart, et al.
                                   Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Tuesday, September 27, 2022:


      MINUTE entry before the Honorable Robert W. Gettleman: Defendant's
unopposed motion for extension of time to answer or otherwise plead [4] is granted.
Defendants' responsive pleadings due on or before 10/27/2022. Mailed notice (cn).




ATTENTION: This notice is being sent pursuant to Rule 77(d) of the Federal Rules of
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